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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

MICHAEL CARGILL and                            §
CTC HGC, LLC,                                  §
     Plaintiffs,                               §
                                               §
    v.                                         §          Civil Action No. 1:22-cv-01063
                                               §
BUREAU OF ALCOHOL, TOBACCO,                    §                Oral argument requested
FIREARMS AND EXPLOSIVES; ATF                   §
DIRECTOR STEVEN DETTELBACH,                    §
in his official capacity; ATTORNEY             §
GENERAL MERRICK GARLAND,                       §
in his official capacity; UNITED STATES        §
DEPARTMENT OF JUSTICE; and                     §
UNITED STATES OF AMERICA,                      §
       Defendants.                             §

              PLAINTIFF’S SUR REPLY TO DEFENDANTS’ REPLY BRIEF
                      IN SUPPORT OF MOTION TO DISMISS

         Plaintiff 1 files this sur reply in order to address two important points that were

unknown at the time they filed their response to the motion to dismiss. First, Plaintiff

explains below how Defendants have waived their claim of “no final agency action”

by way of the arguments Defendants make in their reply brief. Second, Plaintiff

addresses the differences between the old enforcement policy (ATF-O-5370.1D

(hereinafter “1D,” attached as Exhibit B)) and the new enforcement policy (ATF-O-

5370.1E (hereinafter “1E,” attached as Exhibit A)), which was published on the




1     In the Motion to Dismiss, Defendants refer to both plaintiffs in the singular
because Michael Cargill owns CTC HGC, LLC. For simplicity, this sur reply will do
the same.

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internet by a third party shortly after Plaintiff filed his response. 2 A simple textual

comparison of 1D and 1E confirms that Defendants have radically altered their

enforcement of the Gun Control Act—exactly as Plaintiffs allege in the complaint—

thereby giving rise to Plaintiff’s injury in this case.

       Plaintiff’s Complaint alleges that Defendants upended decades of ATF’s

education/compliance enforcement practices when they announced a new “zero

tolerance” enforcement policy for Federal Firearms License-holders in June 2021.

ECF No. 1, hereafter the “Complaint,” ¶ 34. That new enforcement policy was

communicated to the ATF field offices in a July 2021 Memorandum. Complaint ¶ 34,

Complaint Ex. B. The Memo stated the new enforcement policy would be formalized

in a new Enforcement Order. Complaint ¶ 36. (That order is 1E, the contents of which

are now available publicly on the internet.) The Complaint alleges that the new

enforcement policy is to revoke FFLs for inadvertent errors, which effectively removes

the “willful” requirement of the Gun Control Act. Complaint ¶¶ 40-41. And the

Complaint alleges that the new policy is inconsistent with the Gun Control Act and




2      Undersigned counsel became aware of the publication of the documents after
seeing a tweet from Gun Owners of America. See Gun Owners of America
(@GunOwners), Twitter (Feb. 18, 2023, 11:57 AM), https://twitter.com/
GunOwners/status/1627004441869049863?s=20. Further research led to a
scribd.com webpage that appears to be managed by a journalist. The new
Enforcement Order—ATF-O-5370.1E—is dated “01/28/2022,” but it was posted on
February 9, 2023. See Houston Keene, 2022 ATF O.5370.1E Federal Firearms
Administrative Action Policy Procedures, Scribd.com (Feb. 9, 2023),
https://www.scribd.com/document/624836022/2022-ATF-O-5370-1E-Federal-Firear
ms-Administrative-Action-Policy-Procedures?secret_password=bV1r17UtFbF52WM
UpuoW.


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violates Plaintiff’s (and his customers’) Second Amendment rights. Complaint ¶¶ 59-

87.

      Defendants claim that none of this is true, that Plaintiff has imagined an

increased regulatory burden, that Plaintiff’s allegations are not well-pleaded, and

that the Enforcement Policy that ATF formalized in 1E should not even be considered

by the Court. ECF No. 16, hereafter the “Reply,” at 5, 8-9. In their view, the new

Enforcement Policy—1E—did not warrant attachment (even in a redacted form)

because they assert it is privileged and the Court should only review it in camera

and—extraordinarily—ex parte if the Court requested to do so. Since Plaintiff filed

his response, however, the new Enforcement Policy has been published on the

internet by a third party. Plaintiffs therefore address the differences between 1D and

1E below. First, however, Plaintiffs address the important fact that Defendants have,

through their reply, abandoned their claim that 1E does not constitute a final agency

action.

I.    In the reply, Defendants abandon their final agency action argument.

      The changes from 1D to 1E show that, contrary to what Defendants claim in

their Reply, Plaintiff’s regulatory burden has significantly increased, giving him

standing and showing final agency action. See Reply at 3 (“Most obviously, ATF has

not increased Plaintiff’s regulatory burden.”). Plaintiff went from operating his store

in a compliance/education enforcement regime to a zero tolerance policy. Further, 1E

binds the agency—revocation is the “assumed action” for certain violations and

exceptions will only be made in extraordinary circumstances. Exhibit A at 3.




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Discretion is so limited that 1E even explains an appeals process for showing

extraordinary circumstances. Exhibit A at 7, 9, 11. This makes it a final agency

action. See Texas v. United States, 787 F.3d 733 (5th Cir. 2015) (substantive rules are

those that have a “binding effect on agency discretion or severely restricts it”); Texas

v. EEOC, 933 F.3d 433, 441 (5th Cir. 2019) (substantive rules are final agency action).

       In their Reply, Defendants essentially concede that the documents cited in

Plaintiff’s complaint constitute final agency action. See Reply at 2 (“The question is

not whether these documents constitute ‘final agency action’: it is whether the thing

(imagined or real) that Plaintiff challenges is a final agency action.”). It even avers

that the Court “need not consider whether any of the government actions identified

by Plaintiff are final agency action.” Id. at 3.

       But of course the Court must consider whether any of Defendants’ actions

constitute final agency action, see 5 U.S.C. § 704, and their actions do here. In

determining finality, the Court takes a “pragmatic approach.” Texas v. EEOC, 933

F.3d 433, 441 (5th Cir. 2019). It does not matter how an agency describes its own

action, what matters is if the “agency intends to bind itself to a particular legal

position.” Id. (citing Syncor Int’l Corp. v. Shalala, 127 F.3d 90, 94 (D.C. Cir. 1997).

One way to determine agency intent is to examine whether the agency action is

“applied by the agency in a way that indicates it is binding.” Id. That is the case here,

where 1E describes a rigid “zero tolerance” policy. Exhibit A at 3.

       Further, an action is final if it marks the consummation of the agency’s

decision making process and legal consequences flow from it. Bennett v. Spear, 520




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U.S. 154, 178 (1997). 1E became effective January 28, 2022, and will remain in effect

until it is up for recertification on January 28, 2027. Exhibit A at 1. It replaced 1D,

which went into effect on October 2, 2019, and remained in effect until 1E superseded

it. Exhibit B at 1; Exhibit A at 1. There is nothing interim or uncertain about it. 1E

is now the enforcement policy that governs all FFL-holders and Plaintiff is injured by

its unlawful application of the Gun Control Act. See Contender Farms, L.L.P. v. U.S.

Dep’t of Agric., 779 F.3d 258, 264 (5th Cir. 2015).

II.   A comparison of 1D and 1E confirms that Defendants have switched
      from an Education/Compliance regime to a Zero Tolerance regime.
      The change from 1D to 1E represents the culmination of months of efforts that

began by President Biden publishing on June 23, 2021, that “the Justice Department

is announcing a new policy to underscore zero tolerance for willful violations of the

law by federally licensed firearms dealers.” Complaint ¶ 34 (citing The White House,

Fact Sheet: Biden-Harris Administration Announces Comprehensive Strategy to

Prevent     Gun      Violence      and     Ensure     Public     Safety,     available

at:https://www.whitehouse.gov/briefing-room/statements-releases/2021/06/23/fact-

sheet-biden-harris-administration-announces-comprehensive-strategy-to-prevent-

and-respond-to-gun-crime-andensure-public-safety/       (June    23,   2021)).    That

announcement led to the July 14, 2021, Memorandum which Plaintiff discussed in

his complaint and response to the motion to dismiss. Complaint ¶ 34, Ex. B; Response

at 4, 6. And that memo was further refined into the new 1E, which cements

Defendants’ new Zero Tolerance regime against federal firearms licensees.




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      A.     1E describes a “zero tolerance” regime where revocation is the
             “assumed” course of action.
      1E contains a new section on page three that emphasizes the new “zero

tolerance” approach and makes clear that “revocation is the assumed action, unless

extraordinary circumstances exist,” when one of five particular violations are cited:

(1) transferring a firearm to a prohibited person, (2) failing to run a required

background check, (3) failing to respond to an ATF trace request within 24 hours, (4)

falsifying records, and (5) refusing ATF entry and inspection during hours of

operation. Exhibit A at 7.

      Per the express language of 1E, these violations will result in revocation absent

“extraordinary circumstances.” And yet, there are common ways that a licensee can

violate them that are not willful. For instance, a simple mistake. Plaintiffs have

alleged and intend to show through discovery that Defendants are now revoking

federal firearms licenses over simple mistakes and paperwork errors. These do not

meet the statutory requirement of “willful,” and yet Defendants are revoking licenses

anyway because the circumstances are, apparently, not “extraordinary.”

      1E does not explain what constitutes “extraordinary circumstances.” When one

of these violations are cited, 3 the inspection must be reviewed by the Deputy

Assistant Director of Field Operations (Industry Operations)—known in the industry

and in 1E as “DAD (IO).” Exhibit A at 7. The DAD (IO) is located at ATF headquarters

in Washington, D.C. If one of the relevant violations is cited and the inspection yields


3      To emphasize, 1E requires “all inspections with instances of” the five relevant
violations to go to DAD (IO), where revocation is the assumed outcome. It does not
say that these must be willful violations. Every inspection where violations are found
results in a “Report of Violations,” and a Report of Violations “does not require a
determination of willfulness.” Exhibit A at 3. Thus, the plain language of 1E means
that the DAD (IO) is reviewing inspections where non-willful violations are found
with the assumed outcome being revocation.

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a recommendation of anything less than revocation, the inspector must “thoroughly

explain[]” the extraordinary circumstances. Exhibit A at 9. The DAD (IO) must then

approve. Id. at 9, 11. 1E repeatedly notes that a single infraction does not constitute

extraordinary circumstances. Id. at 7, 9, 11. It also deleted a portion of 1D that read,

“A single, or even a few, inadvertent errors in failing to complete forms may not

amount to ‘willful’ failures, even when the FFL knew of the legal requirement to

complete the forms.” 1D at 6.

      B.     1E turns the word “willful” into a meaningless talisman.

      Defendants’ claim that nothing has changed hinges on the fact that 1E still

references “willful” violations of the Gun Control Act, as required by the statute.

However, the operation of 1E in practice reveals that “willful” remains as nothing

more than a meaningless talisman in what is now a de facto “zero tolerance” world.

              1.    1D used a commonsense definition of “willful.”

      Prior to the enactment of 1E, Defendants employed a relatively commonsense

definition of “willful.” In 1D, the revocation section begins by explaining that ATF

“must prove that the license knew its legal obligations under the GCA.” 1D at 6

(emphasis added). It further notes that repeated violations are not “per se . . . willful.”

Id. It was only once “errors continue or even increase after repeated warnings and

explanations of the severity of the failures” that “one may infer as a matter of law

that the licensee simply does not care about the legal requirements.” Id. 1D also

recognized that there may be instances where revocation may be appropriate when a

violation was obviously willful:

             such as an intentional straw sale or knowingly transferring
             to a prohibited person, refusing ATF right of entry and
             inspections during hours of operation at the licensed
             premises, discontinuing use of GCA required records,


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             knowingly entering false information or intentionally
             making false statements involving required records under
             the GCA.
Enforcement Policy at 6.

      1D also three ways to establish willfulness: (1) “a history of similar, repeat

violations” with proof that the inspector discussed them and documentation of ATF’s

“other efforts . . . to inform the FFL about its legal responsibilities”; (2) using

“inspection reports to establish willfulness even if the inspection found no violations,”

such as acknowledging federal firearms regulations; and (3) “statements or

admissions communicated by the FFL or its employee(s), as well as actions by the

FFL or its employee(s) during an inspection that hindered or obstructed the

inspection, or other evidence, can also establish willfulness.” In other words, 1D

required ATF to show a licensee had some sort of active mental state of intentionally

violating or recklessly disregarding its obligations under the GCA.

      C.     1E completely changes what constitutes a “willful” violation,
             effectively writing it out of the statute.
      1E eliminates 1D’s safeguards by completely revamping how the ATF will find

“willful” violations. Both policies note that “willfulness means a purposeful disregard

of, a plain indifference to, or reckless disregard of a known legal obligation.” 1D at 2;

1E at 2. The substance of 1E, however, no longer gives sufficient meaning to the

willfulness requirement.

      To start, it deletes the requirement that ATF prove the licensee knew its legal

obligations under the GCA. Second, it lists violations that “inherently demonstrate

willfulness” where initial violations will result in a revocation. 1E at 6. As discussed

above, the listed violations: (1) transferring a firearm to a prohibited person, (2)

failing to run a required background check, (3) failing to respond to an ATF trace



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request within 24 hours, (4) falsifying records, and (5) refusing ATF entry and

inspection during hours of operation. Exhibit A at 7.

      The problem with a policy that treats these violations as “inherently”

demonstrating willfulness is that most of these violations do no such thing. A licensee

can accidentally (or even negligently) transfer a firearm to a prohibited person, can

accidentally (or negligently) fail to run a background check, can accidentally (or

negligently) make a false statement on a form, can accidentally (or negligently) fail

to respond to a tracing request, and can accidentally (or negligently) allow a straw

sale of a firearm to occur. It is easy to imagine such situations given the regulatory

burden of a licensee that transfers a substantial amount of firearms. For instance, a

licensee could mistype a name in the NICS system, could misread a date on a

background check, could miss an email, fax, or call requesting a trace, and could not

realize a customer was executing a straw purchase. None of those constitute the high

bar of a “willful” violation. Plaintiff alleges—and will prove through discovery—that

Defendants are now revoking licenses over mistakes and paperwork violations that

do not satisfy the statutory requirement of “willfulness.”

      1E also makes changes to how the ATF can establish willfulness by changing

one of the previous criteria and adding three more. Instead of saying that willfulness

can be demonstrated by “Statements of admissions communicated by the FFL or its

employee(s) during an inspection that hindered or obstructed the inspection,” the new

policy says that willfulness can be demonstrated by statements or admissions “that

demonstrate knowledge of regulations and concurrence with the IOI’s findings.”

Thus, willfulness is no longer a matter of hindering an investigation. It is now a

matter of simply “demonsrat[ing] knowledge” of the relevant regulations and




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agreeing with the IOI’s findings. It is hard to understand how simple knowledge of a

regulation is evidence of willfully violating it.

       But 1E goes much further by adding three additional states of willfulness that

are nowhere to be found in 1D. These are:

       *      Showing that “[p]ublications and information [have been] provided to
              the FFL which explain the FFL’s legal responsibilities[,]”
       *      “Demonstrat[ing] that the FFL has complied with the specific
              regulation on other occasions[,]” and,
       *      “Demonstrat[ing] that the FFL has substantial experience as an FFL.”

Compare 1D at 6 to 1E at 6.
       Thus, under the new policy, simple knowledge of the law, or experience as an

FFL-holder, are de facto evidence of willfulness. The change to the third criterion

eschewed purposeful actions by the licensee—hindering or obstructing the

inspection—and replaced it with “knowledge of regulations.” But knowledge of

regulations does not by itself equate to willful violations. Fairmont Cash Mgmt., LLC

v. James, 858 F.3d 356, 362 (5th Cir. 2017) (A willful violation is when a licensee

“knew of his legal obligation and purposely disregarded or was plainly indifferent to

the record-keeping requirements.” (emphasis added)).

       Further, the new criteria do not inherently show a purposeful disregard,

reckless disregard, or plain indifference of the GCA obligations. The fourth

criterion—publications and information provided to the licensee—puts licensees on

notice to comply with every aspect of the GCA without regard to his or her mental

state. Such a standard eviscerates the willful requirement. The fifth criterion—past

compliance—does the same. Under this criterion, a licensee could correctly run a

background check on a purchaser, but accidentally misread a background check date

on a different purchaser and the ATF would find the violation to be willful. The sixth



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criterion—experience as a licensee— also does the same. Even decades of experience

does not prevent a licensee from making inadvertent, honest mistakes when running

background checks, filling out Form 4473s, failing to catch straw purchases, or

accidentally transferring a gun to a prohibited person.

       In practice, 1E’s talismanic invocation of the “willfulness” requirement does

not negate that the effect of the policy is to make it meaningless. The Court should

deny Defendants’ Motion to Dismiss and allow Plaintiff to develop his case.

III.   The Complaint gives adequate notice to defendants of Plaintiff’s
       claims and their grounds.
       Defendants allege that “Plaintiff’s factual allegations are not well-pleaded.

Reply at 7. But Federal Rule of Civil Procedure 8(a)(2) merely requires a “short and

plain” statement that shows Plaintiff is entitled to relief. The purpose is to “give

defendant fair notice of what the . . . claim is and the grounds upon which it rests.”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also Ashcroft v. Iqbal, 556

U.S. 662, 698-99 (2009); Sims v. City of Madisonville, 894 F.3d 632, 643 (5th Cir.

2018). Plaintiff easily clears that bar, but Defendants continue to argue that

Plaintiff’s allegations are insufficient. Reply at 7-11.

       In addition to the well-documented enforcement changes and congressional

inquiries noted in the Response, during Defendant Dettelbach’s confirmation

hearing, he responded to a question about a hypothetical “willful violation” by

explaining that “‘willful’ implies something more than an inadvertent error. . . . In

general, in the law, the term ‘willful’ implies a high level of intent.” Nomination

Hearing: Hearing Before the Committee on the Judiciary, 117th Cong. (May 25, 2022)

(statement    of   Hon.   Steven   M.    Dettelbach)       (available   at   2:12:54-2:13:10:

https://www.judiciary.senate.gov/meetings/05/25/2022/nominations). This statement


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is remarkable for a couple reasons. First, it shows that Defendants are aware of what

this lawsuit is about and have been for some time. Second, it acknowledges that the

Gun Control Act’s use of “willful” constitutes a very high bar for revocation.

Defendants, nevertheless, continue to argue that Plaintiff’s allegations do not meet

the pleading requirements of Rule 8.

      Such an argument cannot withstand scrutiny. Unless Defendants make a habit

of ignoring congressional inquiries and industry press, they are fully on notice of the

claims in this lawsuit and their factual grounds. Plaintiff has pleaded that their new

enforcement regime violates the Gun Control Act by revoking FFLs for inadvertent

paperwork errors. He also pleaded that the new Enforcement Policy violates the

Second Amendment by upending the Nation’s historical tradition of firearm

regulation. He is entitled to prove up his case.

                                       CONCLUSION

      Defendants cannot show that the Court does not have jurisdiction nor that

Plaintiff has inadequately pleaded his allegations in the Complaint. Their Motion

should be denied.

                                        Respectfully submitted,

                                        /s/Matthew Miller
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                                       Attorneys for Plaintiffs


                          CERTIFICATE OF SERVICE

      I hereby certify that on February 24, 2023, I electronically filed the foregoing

document with the Clerk of the Court for the U.S. District Court for the Western

District of Texas by using the CM/ECF system, which will serve a copy of same on all

counsel of record.

                                              /s/Matthew Miller
                                              MATTHEW MILLER




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            EXHIBIT A
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                 v1olat1on d1sdosed relative to 1n ·pections of Federal firearm Ileen ees (FFL ).

                 CANCELLATION. This order cancels ATF O 5370. 1D, Federal Firearms Adm,nistraUve Act on
     2.
                 Policy and Procedures. dated 10/02/2019.

     3.          AUTHORITIES.

                 a.         TiUe 28 U.S.C. § 599A.

                 b.         nue 28, CFR, Sections 0.130 and 0.131.

     4.          DISCUSSION. This order idenlifies the minimum guidelines for administrative action but does not
                 addr1:ss every potential scenario or violation. Each Field Division's Director of Industry Operations
                 (010) should take the appropriate :.ictions to ensure FFL compliance and the protection of the
                 public through proper application of this order. While It is desirable to have defini Ive guidelines In
                 this area, every inspection is unique and requires individual analysis.

                 a.         Adm1r.istrative action is denned as a warning letter, warning conference, revocation,
                            imposition of civil fine, and/or suspension of a federal firearms license. including a
                            recommendation of denial of an original or renewal application, and alternate action to
                            revocation. The issuance of ATF F 5030.5, Report of Violations, Is not an administrative
                            action but rat>ier a documentation of Gun Control Act violations disclosed during an
                            inspection.
                 b.         This policy is for internal guidance only and is law enforcement sensitive. It is not
                            intended-and should not be construed-to create any right or benefit, substantive or
                            procedural, enforceable at law by a party against the United States and Its agencies,
                            officers, or employees.
                 BACKGROUND. This order ;;ats forth the general policy guidelines for adminlslratlve action
    5.
                 recommandatlons for FFLs.
                 a.         This is e national policy for detarmining administrative actions to promote consistent and
                            equitable resolutions of viclations of the Gun Control Act of 1968 (GCA), 18 U.S.C.
                            Chapter 44. The field should pursue all administrative actions in relation to the cited
                            violations and their circumstances. The nature of the violations. their impact on public
                            safety, and ATF's ability to reduce violent crime are significant considerations In
                            determining the appropriate administrative action. ATF may also consider aggravatrng
                            and mitigating factors. This order will allow for the most efficient use of ATF re:iource
                            while maintaining the goal of compliance throughout the industry.
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....


                                                                                                   ATF O 5370. lE
                                                                                                      01/28/2022


             b.    ATF inspects FFLs to ensure compliance with Federal fireorrns laws, oducato them on
                   their res ponsibilities and verify \11 ey are complying with the provisions of the GCA and its
                   Implementing regu lations. Col'l1pilance with 11 10 GCA by the nrearms Industry i an
                   essential part of combattlng crl1110 gun violence and enhancing pullllc safety a;; outlined In
                   ATF's Strategic Plan.

             c.    Pursuant to 18 U.S.C. § 923(e), Al F may revoke a federal fi rea rms lice nse for willful
                   violations of the GCA and Its Implementing regulations, Including all of the violations
                   discussed in this order a11d any other violation of the GCA. The term willful means a
                   purposeful disregard of, or a plain indl fferenoe lo, or reokless disregard c,f a known leg,-,1
                   obligation. ATF may also revoke or suspend a license or Impose a civil line for certain
                   violations of the Brady Handgun Violence Protection /\c1 and the Child Safety Lock Act
                   of 2005. See 18 U.S.C. §§ 922(1)(5) and 924(p).

        6.   REFERENCES.

             a.    ATF O 1100. 168C, Delegation Order- Delegation of Authorities within the Bureau of
                   Alcohol, Tobacco, Firearms and Explosives , dated 11/5/18.

             b.    ATF O 3200.18, Monitored Case Program, dated 10/20/21 .

             c.    ATF O 5000.19A, Industry Operations Manual, dated 4/4/1 8.

             d.    Title 27 CFR Part 478.

             e.    Title 18 U.S.C. § 922.

             f.    Title 18 U.S.C. §923.

             g.    Title 18 U.S.C. §924.

        7.   POLICY.

             a.    Unified Administrative Action Policy and Procedures.

                   (1)     This order establishes a unified plan of action for resolution of violations through
                           administrative action. The plan groups types of violations into categories for
                           which specific administrative actions are recommended.

                   (2)     This national policy will assist Special Agents in Charge (SACs), DIOs, Area
                           Supervisors (AS), and Industry Operations Investigators (IOls) in making
                           appropriate recommendations.

                   (3)     Each inspection has unique and sometimes complex circumstances . Therefore,
                           even in cases where violations appear willful, the field should consider the
                           following questions when recommending administrative action:

                           (a)      Is the FFL willing/able to achieve and maintain voluntary compliance?

                           (b)      Will the continued operation of the FFL pose a threat to public safety or
                                    contribu te to violent crime and/or other criminal activities?

                           (c)     ls the FFL taking responsibility for violations and willing to work with ATF
                                   to correct them?

                          (d)      Is the FFL 's failure to prope rty complete and maintain records directly
                                   impacting the tra ceability of firearms?



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                          (e)      Do lhe vI lalion hav an us lo p , on
                                   diseb11itiAS co11tAIned In llllher 18 U C
                                   •prohtblltld p .r on )?

              (◄)         AT                           lll!ul vtoJ 11011 u,nt gr ally
                          and                            rrns r     vm d In viol nl
                                                       t,un , JJIII    exlroordln ry
                                                       d that lm:lutle:

                          ta)     Transl r of fireorm to a prohibit d pm on knc,wln or hBV11'1
                                  reasonable cause to believe that the transfer e Is a prohibited
                                  person.

                      (b)         Failure to: 1) contact the National Instant Criminal Background
                                  Check System (NICS) (or equivalent State Poinl or Cc,ntact (POC1)
                                  for a background check prior to transfer of a firearm; 2) obtain a
                                  qualifying alternative permit lo lieu of a background chock, or 3)
                                  wait 3 business days after contacting NICS or the appropriate POC
                                  where the system has not notified the FFL that the transfer may
                                  proceed. This includes:

                                 (1)     Return of consignment firearms,

                                 (2)     Pawn redemption of firearms,

                                 (3)     Acceptance of an Invalid alternate permit or nonqualifying
                                         alternative permit In lieu of NICS,

                                 (4)     Transfer of a firearm more than 30 days after an initial
                                         NICS check without conducting a new NICS check,

                                 (5)     Transfer of a firearm prior to receiving a final NICS or
                                         applicable State POC response where lhree days have no1
                                         elapsed since the FFL contacted the system,

                    (c)         Failure to respond to a firearm trace request within 24 hours after
                                receipt of request.

                    (d)         Falsification of records required under the GCA or making a false
                                or fictitious written statement in the FFL's required records or in
                                applying for a firearms license. Withholding or misrepresenting
                                material information in applying for a license.

                    (e)         Refusing ATF right of entry and Inspection during hours of
                                operation at the licensed premises.

    b.   Report of Violations. The field will issue a Report of Violations to the FFL for all
         violations identified during the inspection. This action does not require a determinat,on
         of willfulness.

    c.   Warning Letter. The field may issue a warning letter (WL) when violation            of 27 CFR Part
         478 merit a formal documented action on the part of ATF beyond the Report of Vlol lions
         The AS may decide that a WL is not necessary based on the nature and numb r of
         violations, improvement in compliance with firearms laws and rtigulat1ons, F L's
         compliance history, time elapsed since previous Inspection and other relevant f   ors.
         Sending a WL to an FFL does not require a determination of wI1ltulness. Vt0l uon that
         generally merit a WL as the minimum administrative action Include, but are not limited to,
         the following:

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                                                                                           ATF O 5370.1E
                                                                                              01/28/2022

            (1)      Failure to timely and/or correctly maintain records of receipt, manufacture.
                     importation, or other acquisition on 5 porcont or more of the FFL's total
                     acquisitions during the inspection period, with a minimum of 1OInstances.

            (2)     Failure to timely and/or correctly maintain records of sales or other dispositions
                    on 5 percent or more of the FFL's total dispositions during the Inspection period,
                    with a minimum of 10 instances.

            (3)     Failure by the FFL to obtain complete and accurate Information for any ltem(s)
                    on Forms 4473, question 21, or failure to ensure the buyer signs and dates the
                    Form 4473 (to include falling to have the buyer recertify their answers if the
                    transfer takes place on a different dale than the original signature) on 5 percent
                    or more of the Forms 4473 examined, except when any purchaser is prohibited.

            (4)     Failure to record valid and complete transferee identification on 1O percent or
                    more of the Forms 4473 examined.

            (5)     Failure to record any transferee identification on 1Opercent or more of the Forms
                    4473examlned.

            (6)     Failure to file ATF F 3310.4, Report of Multiple Sale or Other Disposition of
                    Pistols and Revolvers or ATF F 3310.12, Report of Multiple Sale or Other
                    Disposition of Certain Rifles, (Southwest Border states only) when legally
                    required and with a minimum of five instances.

            (7)     Missing firearms after inventory reconciliation (e.g .. no records of disposition.
                    required or otherwise).

            (8)     Failure lo retain requi red GCA records for transferred firearms for period of
                    time specified by regulation.

            (9)     Transfer of a rifle/shotgun to a resident of another State that violates State law.

            (10)    Failure to obtain a completed Form 4473 and failure to conduct a NICS check or
                    obtain alternative permit for:

                    (a)      The transfer of a firearm to a law enforcement officer for personal use, if the
                             transferee is not prohibited; or

                    (b)      The transfer of a firearm out of business inventory to an FFL responsible
                             person (other than a sole proprietor) if the transferee is not prohibited.

           (11)     FFL fails to notify ATF about a change of control.

           (12)     FFL is engaged in an activity not authorized by the Federal firearms license
                    (e.g., engaging in manufacturing firearms without a manufacturer's license).

           (13)     Failure to timely report upon discovery of the theft or loss of a firearm to
                    either ATF or local law enforcement.

           (14)     Failure to record NICS or Point of Contact background check information on 10
                    percent or more of Forms 4473 examined, with a minimum of 10 instances.

           (15)     ATF has previously cited the FFL in a Report of Violations within the previous 5
                    years and the current inspection reveals repeated similar violation(s) with no
                    signrficant Improvement.

      d.   Warning Conference. A warning conference (WC) lets a D1O or AS assess the FFL's
           potential to achieve compliance and determine any potential risks to public safety and
           firearm traceability. It does not require a determination ofwlllfulness.
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             (1)    A WC Is generally appropriate when 1110 FFL has previously boon tho ubJect of a
                    WL or WC, and the current inspection Indicates similar repeal violations. It may
                    also be appropriate to hold e WC for an FFL without a history o f previous
                    viol ations or a WL 111 certain circumstances. The DID may decide that a WL or no
                    administrative action Is appropriate based on the nature and number of vlolat,ons,
                    improvement in compliance with firearms laws end regulations, compliunce
                    history, time elapsed since any previous admlnlslrative action, and other relevant
                    factors.

            (2)     If the violations Involve a corporation, ATF must Invite a corpora1e responsible
                    person to the WC .

            (3)     During the WC, ATF should provide the FrL wilh specific instructions le, achieve
                    GCA compliance and emphasize the mutual goal of ATF and the Industry to
                    safeguard the public.

            (4)     Examples of violations that generally merit a WC as the minimum
                    administrative action, include but are not limited to the following·

                    (a)      Transfer of a firearm other than a rifle or shotgun (including a
                             frame or receiver) to an out-of-state resident.

                    (b}      Failure to mark imported or manufactured firearms appropriately.

                    (c}      Failure to report theft or loss to both ATF and local law enforcement.

                    (d)     Conducting business at locations not authorized as an extension of the
                            licensed business premises.

                    (e}     Failure to obtain a completed Form 4473 and failure to conduct a NICS
                            check or obtain alternative pemiit for:

                            (i}      The transfer of a fiream, to a law enforcement officer for
                                     personal use, if the transferee is not prohibited, and is a repeat
                                     violation; or

                            (ii)     The transfer of a firearm out of business inventory to an FFL
                                     responsible person (other than a sole proprietor), if the
                                     transferee is not prohibited, and is a repeat violation.

                   (f)      FFL has previously been the subject of a WL or WC within the
                            previous 5 years and the current inspection reveals repealed similar
                            violation(s} with no significant improvement.

           (5)     If the FFL does not respond to the WC notification letter and there is evidence the
                   violations are willful, the 010 should proceed with revoking (or denying a renewal
                   application for) the Federal firearms license.

           (6)     Additionally, the 010 may decide after meeting with the FFL, or after offering an
                   opportunity for compliance, to proceed with revocation (denial} if the DIO believes
                   the public interest is best served by revoking or denying renewal of the Federal
                   firearms license. In any situation in which the D10 seeks revocation or denial of
                   renewal, notification of the proposed course of action must be made through Field
                   Management Staff, FISB (fmsisb@atf gov).
           (7)     In instances in which it is detemiined that the violations were not willful and/or the
                   FFL is likely to come into compliance, the WC shall be the final administrative
                   action.
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            (8)     Tho WC ,m1y incl ud n A I f Co unse l 1111d w ill disc11 s m /lfl to echlavo complr nee
                    The A S or D10 111A )' roquesl ttru f+L submit wrrll a11 prop 1 11ls do!ll 111 d lo E1-:h1eve
                    GCA curnplla11co.

       e.   Revocation UJillQLlll__U S.C      92:ik).

            (1)     /\TF must     tublisl1 ¼lllfuln ess to pru ·oocl wllh ravc.u::fll lon und r 18 U S.C §
                    923\e).

            (2)     Al r- does nol ha~ lo ustabli ·t, a hl'ltory of prior violation s lo clemon tr<1l8
                    willfulness. /\ .cordl11gly, /\ TF will mvok n foderul firearm s llrense, abs nt
                    extrn rdlnnry clrc.11mstnnCHS 0 11 lnllln l vlolallon , If l h0SIJ VIOl/lliOl"S ln~erPnlly
                    demonstrntn will!uln uss, such as tr unslrari rr, y a rtrnnrm lo a proh1b1torl p r on,
                    falling lo nm a background check prior to lrnn sforring a flre ~rrn lo a non-
                    llcenseo; falsifying records. or mak ing false stalemontR; farting to ra ponrl tr, n
                    ATF tracing rl:lquest; refuslny to perrnlt ATF to conduct un im, poc1r,,r, or
                    allowing a straw sule of a lirearm to occu r. A If rnuy ulso revc,ko for ,my c,the
                    willfu l nrst-tmic violation as it doems epproprlato.

            (3)     ATF should also co nsider revocation when an FFL has willful •11olation( ) cf the
                    GCA and when factors are present that have a direct Impact on publ,c saf ty
                    such as:

                    (a)      A large number of crime gun trace s as compared lo dispositions,

                    (b)      Short time to crime traces ,

                    (c)      T races from violent crimes, or,

                    (d)      International traces.

            (4)     ATF can esta blish the knowledge element of willfulness In several ways :

                    (a)      Establish the FFL has a history of similar, repeat violations, and
                             documentation that an IOI discussed them with the FFL. The FFL's
                             compliance history can include other efforts by ATF (including qualification
                             inspections) to inform the FFL about its legal responsibilities.

                    (b)      Use inspection reports to establish willfulness even if the inspection
                             found no violations (i.e., acknowledgment of Federal firearms
                             regulations).

                    (c)      Statements or admissions communicated by the FFL or its employee(s),
                             as well as actions by the FFL or its employee(s) during an inspection that
                             demonstrate knowledge of regulations and concurrence with the IOl's
                             findings.

                    (d)      Publications and information provided lo the FFL which explain the FFL's
                             legal responsibilities.

                    (e)      Demonstrate that the FFL has complied with the specific regulation on
                             other occasions.

                    (f)      Demonstrate that the FFL has substantial experience as an FFL.

            (5)     ATF Field Counsel must evaluate the facts and circumstances surroundi ng an
                    FFL's alleged violation(s). During Counsel's review, a copy of the Industry
                    Operations Monitored Case Briefing Paper will be submitted to FISB. It can
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                                       not to              action· or If Coun I dot 1m1110 111111 tt
                 c                   atl fy th            of the violation (S   10 d ( ) for
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           (6)                                            Ing 1ct1011 urrder er.lion 023             appropri t
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                              . xtraordinary clrcumsl,m            will 1101 ho 011 cc, 1
                     lternate recornm ndalion.

                 (a}        Tr nsfer of a firearm to a prohibited person whllu knowing or hav1n
                            reasonable cause to believe that the transferee is a prohibited por on

                 (b)         Failure to conduct a NICS check or obtain altermitive µerrrnt ur f, I to re ,e
                             a NICS (or equivalent State POC background check system) re~pc;n e p tor
                             to the transfer of a firearm. This includes:

                              (1)       Return of consignment firearms.

                              (2)       Pawn redemption of firearms.

                              (3)       Acceptance of an invalid alternate permit or nonqualifylng altornat11e
                                        permit In lieu of NICS,

                              (4)       Transfer of a firearm after an initial NICS check 30-day expiration,
                                        without conducting a new NICS check,

                               (5)      Transfer of a firearm prior to receiving a final NICS response or
                                        applicable State POC background response where three days have
                                        not elapsed since the FFL contacted the system.

                     (c)     f-ailure to respond to a fire:arm trace request within 24 hours after
                             receipt of the request. (Contact National Tracing Center to obtain
                             necessary information to fully evaluate potential failure of FFL to
                             respond to a trace request).

                     (d)     Falsification of records required under the GCA or making a false or fictitious
                             written statement In the FFL's required records or in applying for a firearms
                             license. Withholding or misrepresenting material Information 111 applying for a
                             license.

                     (e)     Refuse ATF right of entry and inspection during hours of operation at the
                             licensed premises.

                     Revocation is also an appropriate licensing action in response to the discovery of the
                     below willful violations:

                     (f)      Allow an employee who Is a prohibited person to have actual or
                              constructive possession of a firearm while knowing or having reasona le
                              cause to believe that the employee is a prohibited porson.



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                   (g)     The FFL transfers a firearm knowing or having reasonable cause to believe
                           that the transferee of record is not the actual bLIyer (i.e. a straw purchase).

                   (h)    Failure by the FFL to create e required GCA record, or discontinued use of
                          required GCA records.

                  (i)     Failure to execute an ATF Form 4473.

                   O)     Failure to account for acquired firearms which records indicate were In
                          inventory within the previous 5 years after reconclllatlon for which
                          disposition could not be accounted for In required GCA records (e.g.
                          acquisition and disposi tion record, Form 44 73) and is a repeat violation of
                          Increased frequency.

                  (k)     Discovery of a firearm with an obliterated serial nu,nber In FFL's inventory.

                  (I)     Transfe1· of a firearm to an underage person.

                  (m)     The FFL has been the subject of a WC in lieu of Revocation within the
                          previous 5 years and the current inspection reveals repeated similar
                          violations(s) with no significant improvement.

                  (n)     Any other GCA violation not specifically addressed in this order where
                          revocation may be appropriate .

      f.   Fines/Suspensions/Revocation under 18 U.S.C. §§ 922(t) or 922(z).

           (1)    ATF may revoke, suspend, and/or impose a civil fine for certain knowing
                  violations of the Brady Handgun Violence Prevention Act and the Child Safety
                  Lock Act of 2005. See 18 U.S.C. §§ 922(1), 922(z) and 924(p). In each
                  situation, the proposed sanction (revocation, suspension, and/or fine) must be
                  specifically spelled out in the Notice to Revoke or Suspend License and/or
                  Impose a Civil Fine. The FFL has the same rights to review as in other GCA
                  administrative hearings.

           (2)    ATF can revoke, suspend, and/or fine an FFL pursuant to 18 U.S.C. § 922(t)(5).
                  This allows for revocation, suspension for not more than 6 months, and/or a civil
                  fine for the transfer of a firearm and failure to conduct a NICS check required by
                  18 U.S.C. § 922(1)(1), where NICS was operating, and the person would have
                  been denied had a NICS check been conducted. The transfer of the firearm and
                  the failure to conduct the NICS check must be done knowingly.

           (3)    ATF can revoke . or suspend, and/or fine an FFL pursuant to 18 U.S.C. § 924(p)
                  for failure to comply with 18 U.S.C. § 922(z)(1) (providing a secure gun storage or
                  safety device witl1 each transfer of a handgun). With certain exceptions, § 924(p)
                  allows for the revocation, suspension for not more than 6 months, and/or a civil
                  fine for the knowing transfer of a handgun to a non-licensee without a secure gun
                  storage or safety device.

           (4)    A Notice to Revoke or Suspend License and/or Impose a Civil Fine will be issued
                  when violations of 18 U.S.C. 922(1)(1), 922(2) and/or 924{p) are cited. Except in
                  situations approved by the DAD (10), all three options on the form will be selected
                  and the maximum fine and suspension will be proposed. All settlements prior to
                  or after a hearing, must be approved by the DAD (10) and Deputy Chief Counsel
                  prior to finalizing any agreement.




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                 (5)         No\1flcatIon of C1v,I r-,no lmpoGed must be m,1do to Fodorol F1ru mn LI     n ng
                             Center and Financial Managem •nt DIv1sio11 via rn mo

                 (6)         ATF Field Counsel 111usl evaluate lno fuds and circ.umstancos urroundln an
                             FFL's all ged v,olatlon(s). During Counsel's review, u copy c.,f th lr,dustry
                             Operations Monitored Ca e Risk A essment Briefing Papor will be ubm1Ued o
                             FISB. It can be I tar removeu from th MCI-' 11 the Fiolu D,v,s,on doc1ue~ not to
                             pursue revuc..,tIon , deni I, su p n Ion, and/or fine, or if Counsel d tcrm,nes the
                             case do snot all fy tlHl lorn nt of tho violot,nns, (So par.ir raph 10.d (3) for
                             ACC con urr nee.)

       g.        Donia sunder 1c LI •. C, ~

                   (1)                                                                           ,r
                              An application for a Federal firearms license may only be uenled the applicant
                              does not meet one or mar of tho licons,ng criteria set forth rn 18 U S C. § 923(d)
                              Generally, ATF will deny an application for renewal of a Federal fire .rm hcense
                              based on willful violations of the GCA and the same criteria and procedur<.l$
                              outlined for revocation under section 923(e) In &action 7 above.

                   (2)         ATF will deny applications in which an applicant: failed to provide material
                               information required on the application or the applicant is less than 21 ;ears old, a
                               prohibited person, made a material false statement on the application, or Is a prior
                               willful violator of the GCA. These situations may Include "application denial."
                               "hidden ownerships," or "straw applications." which usually involve situations
                               where past willful violators or prohibited persons are responsible parties but are
                                not listed on the application. In certain situations, a referral to ATF Criminal
                                Enforcement may be appropriate.
                       (3)     ATF Field Counsel must evaluate the f<1cts and circumstances surrounding an
                               applicant's alleged violation(s). During Counsel's review, a copy of the Industry
                               Operations Monitored Case Risk Assessment Briefing Paper will be submitted to
                               FISB. It can be later removed from the MCP if the Field Division decides not to
                               pursue denial. (See 10.d.(3) for Regional ACC concurrence.)


        h.         Alternate Actions.
                   (1)        For inspections that merit consideration of revocation for violations outlined in
                              paragraph 7.e.(6)(a)-(e), extraordinary circumstances must exist before the D10
                              proposes an alternate recommendation, and those extraordinary circumstances
                              must be thoroughly explained in the DIO's recommendation. NOTE: One
                              instance of a violation outlined in paragraph 7.e.(6)(a)-(e) above does not
                              constitute extraordinary circumstances ond will not be an acceptable reason for
                              an alternate recommendation.
                   (2)         Appropriate alternate recommendations to revocatio n include an AS led Warning
                               Conference or a DIO led Warning Conference. Who conducts the warning
                               conference will depend on the totality of the circumstances surrounding the
                               inspection results. A warning letter is rarely an acceptable alternate
                               recommendation to revocation.

                   (3)         For inspections thal merit consideration of revocation ,n which the DIO proposes
                               an alternate recommendation, the inspection Is required to be submitted to the
                               MCP for DAD (10) approval. (ATF O 3200.1B, Monitored Case Program.)

            i.     Other Administraiive Resolutions.
                   (1)         Pursuant to 27 CFR 478.72-74, the DIO may afford the FFUappllcant th.,
                               opportunity to submit facts and arguments for review and consideration and

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                         make offers of seltlemonl or offers of a trrral rosolulion Involving an agrood upon
                         revocation before or after the Issuance of a Notice to Revoke/Deny Suell
                         submissions of settlements/offers are required to occur outside of an
                         administrative hearing and roqulru DAD. (10) approval. An example of
                         settlement COLIIJ include a request for a temporary closure period when the FFL
                         in titutos romodiol m asll!os

                (2)      Following ttle Issuance or ttle Notice to Hevoku/Do11y a 010 rmry consiclor
                        allcrnatlve8 to 18:;uin!:I a Final Notice of Denial or Appllciltlun, Revocation,
                        Suspension, and/or Fine of a F duml flreer m lbmse with the concurronce of tho
                         DAD (10). Th DIC should consult ond work closely with Field Counsel on the
                        negotiation of terms and conditions lo whIct1 ATF may appropriately agree to
                        settle or resolve. The DAD (10) must approve the final written settlement
                        document and If the revocation is based on the violations outlined in paragrept1
                        7.e.(6)(a)-(e), oet approval from the Director prior to the field proceeding.
                        Settlemenis bar-ing extraordinary new circumstances being presented. are not
                        appropriate for cases that involve transferring to a prohibited person, falling to run
                        a background check, falsifying records, or making false statements, failing to
                        respond to an ATF tracing request, and/or refusing to permit ATF to conduct and
                        inspection.

  8.    GENERAL GUIDANCE. The Division management team may consider the appropriate
        administrative actions. The DIO will seek advice of Field Counsel and the ACC
        (East/Central/West), when seeking Administrative Actions for DAD (10) approval and the
        Assistant Director, Field Operations (FO) when considering the appropriate administrative action.

        a.      This order does not mandate doing any administrative action in a sequential or
                consecutive order. For example, a WC may be held or revocation sought after the
                first inspection if violations impact public safety or obstruct firearms traceability.
                Conversely, a WL may be issued even if the priorinspection resulted in a WC.

       b.       The DIC or AS will conduct WCs.

       c.      The 010 will ensure the timely initiation of administrative action. For inspections that are
               alternates to revocation for items specified in paragraph 7.e.(6)(a)-(e) above, the actions
               need to occur within 30 days of the notice from the DAD (10) that the Director has been
               briefed and concurs with the action. The post-conference letter for coses requiring a WC
               should be issued no later than 90 days after final DIO review unless there are mitigating
               circumstances. The AS should issue a WL within 15 days or his or her review.

       d.      The area office should submit cases involving potential denials/revocations to the 010
               within 30 days of lhe inspection submission date. The 010 has 120 days, inclusive of
               Counsel review. upon receipt of the inspection to issue the Notice to Revoke/Deny. Field
               Counsel will have a maximum of 60 days to review and prepare the Notice in final form
               for submission to the DIO for review and issuance. The DAD (10) will be notified by the
               DIO via Ft SB if these periods are not met.

       e.      Criminal violations and violations that pose a danger to the public should be grounds for
               revocation, and the field must immediately notify ATF criminal enforcement. This may
               include situations where firearms are subject to seizure and forfeiture. This order does not
               prevent division management from pursuing simultaneous regulatory and criminal actions
               with the concurrence of t11e U.S. Attorney's Office. There may be instances where the
               Government resolves the case through a revocation and a criminal plea. If ATF pursues
               revocation, it will follow procedures, including those required by ATF O 3200.1 B, Monitored
               Case Program.




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                                          llomate rocommendatIon.

  10   F1ELD RESPONSIBILITIES. Responsibilities for field personnel nnd ma.,;igarncnt      aro a   lollow.,

       a.     In U§\Jy Operations Investigator. The IOI :

               (1)     Will conduct the inspection per established ATF gllidelines, lnclud,ng use of the
                       approved case management system. If an IOI uncovers violatIons, the 10, \\Ill
                       obtain and preserve all available evidence and document the violations to show ,f
                       the violations were willful, including copies of Forms 4473 and AcquIsIt1on and
                       Disposition records since only documented violations will be cited In the Notice.
                       The IOI will then make the appropriate recommendation based on the guidelin s
                       contained herein and forward the inspection to the AS.

               (2)     Must communicate v.ith and notify the AS of violations, findings, and other
                       circumst&nces impacting public safely upon discovery.

       b       Area Suoervisor. The AS:

               (1)     Will review all firearms inspection reports and associated exhibits maintained
                       within the approved case management system to ensure the IOl's
                       recommendation meets established guidelines and ev1dentiary requirements,
                       they adequately performed all relevant inspection work steps, and they
                       correctly entered all necessary data.

               (2)     Must communicate with the D10 and notify the D10 of violations, findings, and
                       other circumstances impacting public safety upon discovery

               (3)     Independently evaluate the IOls recommendation and insert their
                       r"commendation in the approved case management system. If they disagree
                       with lne IOI recommendation, the AS will document the reason(s) within the
                       recommendation section of the case management system. The AS must submit
                       cases meriting WC, revocation, denial, fine, or suspension to the 0 10 within 30
                       days of the IOI submission date.

       c.      Director of Industry Operations. The D10 shall:

               (1)     Review all inspections that recommend a WC and/or alternate thereof. The D10 s al
                       complek: a re~omm~r-oa,,or, r tr e approved cas;, managerr-ent syste,.,, ar,.J ret n to
                       the AS :itt r •'" caler1dar days.

               \~,                rs1.e •. uun, resuI1In9 n a •ec i "' ,erddtrcn of der , re o '.it, r
                       Rc"I ,;;, a,I
                       susp.ensior, fine. or alternatG to revocation and corrplete a rt'lt;Ommendn',o 111
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                                                                                                           ATF O 5370.1£
                                                                                                              01/28/2022

                                  1110 a,,p,o~od           , , n g r, nl       I r-i , .Jd1I r, 1111 II
                                 ,u'lif1cat1or1 II 1rc•,,gll Ille lmlustry Or, r lr<JM Mor tr,rfld ,
                                 Briefing Pap r ,md ubrl'rt to ISB

                         (3)     Request legal advrce from Field Ccun,el 111 ;ill t ,11at alt•.rn le   r
                                 rocornrnendalions lo revocation, Rcquest Fiold Counsel nnd ACC I g
                                 advrce for all dr,nials revocations. suspensions. a11d l1nes.

                         (4)     Advise lhe SAC of ;iny adminrstmtive actions lhal de,il with polent,;il
                                 denials, revocations, susp&nslons, flnos, allorn::iles to revocal1ons,
                                 and other adrninis lral1ve resolu1io11s

                         (SJ     Following a /1earing requested pursuant to either 27 C.F.R. §§
                                 478.72 or 478.74, lhe 010 must conclude whether tho Government
                                 has met its burden of proof by a preponderancu of the evidence that
                                 the elements required to Issue a Final Notice of Danial of /\pplication,
                                 Revocation, Suspension and/01 ri11e of Flreorms License, ATf- Forrr
                                 5300. 13. If t11e D1O believes such elements have not been proven.
                                 Including the willfulness required lo sustain a denial under 18 U.S.C.
                                 § 923(d)(1 )(C) or revocation under 18 U.S.C. § 923(0), the 010 must
                                 fully brief the DAD (10) as 1o the basis for this determination.



                        (1)     At the request of the DIO, Field Counsel will review all inspection reports and e.a<h1b1ts
                                in the approved case management system and provide legal advice in all
                                admin istrative actions.

                        (2)     Tile DIO and counsel sl1ould use discretion in determining which violations to
                                allege and only allege willful violations ,n the Notice to Revoke under 18 U.S.C. §
                                923(e). As noted above, ATF may also revoke or suspend a license or impose a
                                civil fine for certain violations of 18 U.S.C. §§ 922(1)(5) and 924(p). In cerlair,
                                instances, it may not be in the interest of the Government to cite isolated willful
                                violations wl1ere there are adequate willful violations lo sustain a revocation.

                        (3)     The ACC for the applicable Field Division vvill review and approve all proposec
                                Notices and administrative resolutions for legal soundness. and compliance
                                with this policy prior lo final submission to MCP anci implementation of these
                                actions.

                e.      Special Agent in Cl1arge. The SAC has ultimate division responsibility to ensure that this
                        national policy is propeily enforced. To this end , they ma y establish additional controls in
                        their division

          11.   AVAILABILITY. The forms outlined in this order are available al ATFConnect>Forms and
                Policy>Forms. The manual outlined in this order is available at
                ATFConnect>Directorates>Field Operations>lndustry Operations:>1O1 Manual.

          12.   RECORDS RETEl~TION REQUIREMENTS. Documents outlined in this oroer must be
                retained in accordance with ATF O 1340,SA. Records Management Program and ATF 0
                1340.7A, ATF Records Control Schedule.

          13.   QUESTIONS. If you have any queslions regarding th is order, please contact Field
                Management Slaff, 202-648-8400.

                                                                     C,g,t•IIY l•',lrie-1 b)'GEOR<iE
                                                 GEORGE LAUDER LAUDER
                                                                     ~Ct:2022.01181NL07•05'0CI'

                                                          Assistant Director
                                                    (Office of Field Operations)

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       EXHIBIT B
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 l ,.. - nf'pAr"(mt'nt or Ju-..liC't
 Bun>ou of Alcoho l, Tob;i«o, Firearm, 1111J hplo"Wi                              Order

                                                                                 I ATF O 5370.10


 SUBJECT         FEDERAL FIREARMS ADMINISTRATIVE                                 DATE 10/02/2019
                 ACTION POLICY A D PROCEDURES                                     OP! RECERTIFICATION
                                                                                   DATE: 10/02/2024
                                                                                  OP! 700000



 TO:      All ATF Indu stry Operations Offices

 1.       PURPOSE This orde• provides rair and consistent guidelines for admmistrab11e remedies for
          violar,ons disclosed relative to inspections of Federal firearm licensee s (FFLs),

 2        CANC ELLATION . This ord er cancels ATF O 5370.1C Federal Firearms Admmistrati11e Action
          Policy and Procedures dated February 21 , 2017

 3        AUTHORII\J;§..

          a        Title 28 U.S.C § 599A.

          b        T,tle 28 , CFR , Section s 0.130 and O 131.

 4        DISCU SSION This order idenli(es the minimum guidelines for adm inistrative action but does no!
          address every potential scenano or violahon. Each field dNision s Director, Industry Operations
          (010) shou ld take the appropriate actions to ensure licensee compliance, protect ing th e public
          throug h proper application of th is orde r. Wh ile 1t Is desirable to have definit1ve guidelin es 1n this
          area, every inspechon is un:que

          a         AdmInlstrat1ve acuo., Is defined as a w arning letter, warn ing conference , revocation ,
                    imposition of c1vII fine, and/or suspension of a Federa l firearms license, including a
                    recommenda tion or denial of an ongmal or renewal app licauon and aUemate action to
                    revoc ation. The issuance or ATF F 5030.5, Report of v,olallons. Is not an aomIntstrative
                    action but rather a documentation of Inspection findings ,

          b         This policy Is for Internal gu,dance only and is law enforcement sens,llve It is not
                    mlended-and should not be consuued--to create any nghl or benef,t substantl e or
                    procedural, enforceable at law by a party against the United States and ,ts agenc,es ,
                    office rs, or emp loyees.

 5.       BACKGROUND. This order sets forth the general policy guidelines lor adm1n,strativeaction
          recommendattons for FF Ls

           a        This Is a national policy for determining administrative actions to promote consistent and
                    equ itable resolution s o' 111olalions of the Gun Control Act (GCA) The field should pursue
                    all adm1mstrat,ve actions In re!at,on to the cited v,olatJons arid their circ1Jm srances The
                    nature of the v1olalions and their impact on public safety and the Bure au of Alcohol.
                    Tobacco, Firearms an d Explos ives' (ATF) abrl,ty lo reduce violent crime are s19nlf1cant
                    considerations for the appropriate adm,mstrallve action A TF may also consider
                    mrhgahng facto rs. This order" ·11 allow for the most eft,cienl use of ATF resources while
                    m:a,nlaining lhe goal of complra11ce lhroughout the industry




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                                                                                         ATF O 5370 1D
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     b.    ATF inspects licensees lo ensure compliance with Federal firearms laws by educating
           licensees on their respons1b1Mies, ver,fyi ng they are com plying with the provisions of the
           GCA and its implemenbng regulations , and analyzing operations lo detect possible
           diversion of firearms from legal commerce th,ough regulatory inspections Campi ance
           with lht> GCA by lhe firearms lnduslry Is an essential pan of acldressIng nallonwIde crime
           control an d public safety efforts as outlined in ATF's Strategic Plan.

     c     Pursuant 10 18 U S.C. 923 (e). ATF may only revoke a Federal firearms license for
           willful violations of the GCA and its lmplementmg regulauons. The term willfulness
           means a purposeful disregard of. a plain indrfference to or reck less disregard of a
           known legal obligation A TF may also revoke or susoend a license or .mpose a 0,111
           fine for certain violauons of the Brady Handgun Violence Act and the Child Safety Lock
           Act of 2005. ATF may revoke for any willful v1olat1on of the GCA including all of the
           v1ola11ons discussed m this order and any other v1olahon of the GCA.

 6   REFERENCES.

     a     ATF O 1100168C, Delegation Order- Delegation of Authorilies within lhe Bureau of
           Alcohol, Tobacco, Firearms and El<plos1ves dated 11/5/18.

     b.    ATF O 3200 1A Monllored Case Program dated 3119115 .

     c     ATF O 5000 19A Industry Operahons Man~a oa!ed 4/4118.

     d.    Title 27 CFR Part 478

     e     Tttle 18 U S.C. 922

           Tille 18 U.S C 923

     g     Trtle 18 US .C 924

 7   POLICY.

     a     Unified Adm1111sirat1ve Action Pol icy and Procedures

           (1)     This order establishes a un,fled plan of action for resolullon of v1olat1ons through
                   administrative act,on. 11 e plan groups types of vIolatIons into categories for
                   which specific administrative actions are recommended

           (2)     This national policy will ass,s1 Special Agents In Charge (SACs) 0I0s field
                   counsel . Area Supe,v1sors (ASs) and Industry Operations Investigators (IOls)
                   In making appropriate recommendauons.

           (3)      Each inspect10n has unique and sometimes complex circumstances Therefore
                    even 111 cases wnere v1olat1ons appear willful, the field should consid er the
                    following questions when recommending administrative actioO'

                    \a)     Is the FFL willing/able lo achieve and mamtain voluntary compliance?

                    (b)     Will the conti nued operation of th e FFL pose a th reat to pu blic safety or
                            contnbute 10 violent crime and other criminal ac11v1t1es?

                    (c)     Is the FFL taking respons 1bih1y for v,olauon£ and willing 10 work w1thATF
                            to co rrect lhem7

                    (d)     ts !he FFL 's failure to properly complete and maintain records direclly
                            impacting the traceabilrty of firearms



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                   \eJ     Do vIolat1ons have a nexus to persons prohib ited from possessing
                           firearms?

     b    Report of Violations. The field will issue an ATF F 5030.5. Report of Violations to the
          FFL !or all violations 1denhf1ed during the 1nspect1on. This actiorl does not require a
          determination of wil lfulness

     c.   Warning Let1e r. The field may issue a warning letter (WL) when violations of 27 CFR.
          Part 4 78· require a formal documented action on the part of A Tf beyond the Report of
          Violations. The AS may decide thal a WL Is nol necessary based on the nature and
          number of violations, improvement In business operations record keep,n9 elc. &once the
          previous mspecllon FFL"s comphance history time elapsed since previous inspection and
          other relevant factors may be considered. Sending a WL to a FFL does not require a
          determinauon of willfulness Violations that generally merit a WL as the minimum
          administrative action include-but are not lim11ed to-the following·

          ( 1)     Failure to timely and/or correctly maintain records of receipt, manufacture,
                   Importation or other acquisrtIon on 5 percent or more of the llcensee·s total
                   acqu,sitions during the nspect1on period, wrth a minimum of 10 instances.

          (2)      Failure to timely and/or correclly maintain recoros of sales or 01herd1spos1l1ons
                   on 5 percent or more of the licensee's total d1spos1hons during the inspection
                   penocl, w;th a mmimum of 10 instances

          (3)      Failure by the licensee to ootain complete and accura:e mforma JOO for any
                   Item(s) on Forms 4473. questions 11 and 12, or failure to ensure the buyer
                   signs and dales the Form 4473 (lo Include falling to have the buyer recenify
                   their answers JI the transfer takes place on a different oate than the original
                   signature) on 5 percent or more of the Forms 4473 examined except when any
                   purchaser is proh,b,ted - refer to subparagraph 7 e. (5)\a)

          (4}      Failure to record valid and complete transferee ·denbficatioo on 10 percent or
                   more of the Forms 4473 examInec.

          (5)      F:11ture lo record any lran&fcree 1dent,f,ca11cn on 10 percent or more of the Form9
                   4473 ex,unined

          (6)      Failure to file ATF F 3310.4, Report ol Multiple Sale or Other DisposIt1on of
                   Pistols and Revolvers or ATF F 3310.12 Repon of Multiple Sale or Ottier
                   Dispos1t1on of Certain Rifles , (Southwest Border slates only) when legally
                   required and with a rninimum of five instances.

          (7)      Missing fi rearrns after inventory roconci11ation (e g no records of dlspos1toon
                   required or otherwise)

          (8)       Failure to retain required GCA records for transferred firearms lo, period or
                    time specified by regulation.

          (9)       Trans/er of a nlle/shotgun 10 a res1den: of another State thal v10lates State law

           ( 10)    Failure lo execute a Form 44 73 for

                    (al     The return of a firearm that was consigned to the l,censee

                    (b)     f11e trnnsfer of a firearm to a law enforcement officer for personal use, or

                   (c)      The transfer of a fr rearm out of the business Inventory lo an FFL



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                         responsible person (other than a sole-proprietor). 1! the transferee is not
                         prohIbIted.

          (11)   Failure lo conduct a National Instant Criminal Background Check System (NICS)
                 check or obtain altema11ve perm it for

                 {al     The re1um of a firearm hat was consigned to the licensee.

                 (b)     The trans.[er of a firearm to a law enforcement offlce1 for personal use or

                 (C)     The tr~nsfer of a firearm out of business inventory 10 an FFL responsible
                         person \other than a sole-proprietor). 11 tne transferee is not prohibited

          (12)   Failure to retrieve a NICS (or equivalent State background chect system) e-
                 check response prior lo the transfer of a firearm, and the transferee is not
                 proh ib ited .

          (13)   FFL transfers a firearm prior to receiving a final NICS response (or applicable
                 State background check system) and 3 business oays (or the slate waiting
                 period) have not elapsed, and the person Is not prohibited

          (14)   FFL tails lo notify A TF about a change or control

          (15)   FFL is engaged 1n an activity not authorized by the Federal firearms license
                 (e g engaging In manufacturing firearms without a manufaclurer's license)

          (16)   Failure 10 in 11ate a new NICS check when a transaction Is no compte;cdw1tnIn
                 the 30-day period from the date NICS was m1t1ally contacted provldell that the
                 person Is nol prohibited

          {17)   Failure to ti mely rep ort upon discovery of the theft or loss of a firearm to
                 eilner A TF or local law enforcement

          (18)   Fai lure to record NICS or Point of Contact background check Information on 10
                 percent or more cl Forms 4473 examined, with a mmimum ol 10 instances.

          (19)   ATF has previously cited the FFL In a Report of Violaltons within the previous S
                 years and me current inspection reveals repeated similar v1o iat1on(s) wllh no
                 significant improvement.

     d.   Warnin g Conference A warning conference (WC) lets a 010 or AS assess the FFL's
          potential to achieve compliance and determine any potent.al risKs lo pubhcsafely and
          firearm traceab1hly It does not requ,re a determ1nat1on oiw1llfulness

          (1)     It Is generally appropriate when the FFL has previously been the subJect of a VVl
                  or WC and the current inspection indicates similar repeat 111olaI,ons, though ~
                  may be appropriate to he ld a WC !or an FFL without a history of previous
                  violations or a WL In certarn circumstances. The DI0 may decide lhat a WL or
                  no admln1strat1ve action Is appropriate based on the nature and number of
                  violations. Improvement wijh business operalIons smce the previous inspect,on
                  complia nce h,story, time elapsed since any previous adm inist ra tive action . and
                  other re levant factors.

           (2)    If the 11,olation~ involve a corporation ATF rnu~l lnvlte a corpor.ito responsible
                  person 10 the WC. (Ensure a copy of the WC notif1cat•on letter is sen1 lo the
                  FFL's corporate office.)




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          (3)    During the WC ATF should provide the FFL with spec1f1c instn,ctions lo achieve
                 GCA compliance, and emphasize the mutuel goal of ATF and the industry to
                 safeguard the public.

          (4 l   Exam oles ai violabons that ger.erally ment a WC as the mimmum
                 11omIn,5tratr,,e actJon. me1uoe out are not hm1led to the lollow,ng-

                 (a)     Transfer or a firearm (includmg lower receiver) ot11er tnan a rine or
                         shotgun to an out-of-state resident.

                 (b)     Failure to mark lmpor1ed or manufactured firearms appropriately

                 (cl     Failure to execute a Form 44i3. exception use WL ror

                         (1)      The rel urn o• a firearm that was consigned to tie lic~msee.

                         (2)      The transfer of a flream1 to a law enforcement officer for personal
                                  use or

                         (3)      The transfer of a firearm oui ot business inventory to an FFL
                                  responsible person (other than a sole-proprietor), If the transferee
                                  1s not prohibited - see paragraph 7 c,(10)

                 (d)     Failure to conduct a NICS check or obtain an ohemate perm1L
                         exception use Wl for

                         ( 1)     The return of a firearm that was consigned to tne licensee.

                         (2)      Toe transfer of a firearm to a law enforcement officer for
                                  personal use, or

                          (3)     The transfer of a firearm out of business inventory to an FFL
                                  responsible person (other lhan a sole•proprietor) rf the
                                  transferee 1s not proh b1ted - see paragraph 7 c.(11)

                 (e)     Failure to report thef: or loss to ooth ATF aN:I local law enforcem~nl

                 (f)      Conductir,g business at locaMns not authonzed as an extension of the
                          ficensed buslne~s premises.

                 (g)      FFL has previously been the subJect of a WL or W C within the
                          previous 5 years and the current inspection reveals repeated similar
                          v1olat,on(s) w,th no slgn,ficanl improvement

          (5)     II the FFL does not respond to the WC not,flcat1M letter and there 1s ev,aence that
                  the 111olations are willful the 010 may revoke (or deny a renewal appbcat1011 for)
                  the Federal firearms ~cense

          (6)     Add1t1onally the 010 may decide atter meeting with the FFL, or afler offering
                  opportunity for complrance, lo proceed with revocation (renewals/den,als) 1f the
                  0 10 belleves the public Interest is best served by revoking or denying renew al of
                  the Federal firearms hcense. the DIO will proceed accordingly In any sltuatron in
                  which the 010 seeks revocation or denial or renewal, not,hcallon or the proposed
                  course of action mu,;I be made •~rough Field Mtinegemenl Staff Frontline
                  lnvt:S!Jgatrve Support Brancti (FISBi (fms,sb@atf gov)




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            (7)     In Instances in wh1cn 11 IS delermined 1na1 the vrolattons were not willful amlfor \he
                    FFL is likely to come Into compliance, the WC shell be the final adm1n1stra\ive
                    action.

            (6)     The WC may include ATF Counce! and w,lt d,scuss mearts to achieve cornpl,ance
                    1ne AS or D1O may request written proposals designed to achieve GCA
                    compliance


       e.   Revocation Under 18 U.S.C. 923(e}.

            (1)    II 1s necessary lo estabhsh willfulness- the field d1v,s10n m st prove tnat 1he
                   licensee knew ,ts legal obllgat1ons under the GCA and either purposefully
                   disregarded or demonstrated a plain indifference or a reckless disregard to
                   them-to proceed w1Ui revocahon under 18       u_s_c     923(e) Nol every repeal
                   violation 1s per se a w,llful violat,on A single , or even a few mac!ver.enl errors In
                   fa,llng to complete form s may not amount to 'willful failures. even when the FFL
                   kne ~ ot the legal requirement to complete the fo rms However, if such errors
                   continue or even increase after repealed warnings and explanations of the
                   sever,ty of the failures one may ,nfer as a malle· of law th:it lho licensee simply
                   does not care aboutthe legal requlrE!mE!nls. The failures then show the FFL s
                   plain ind1ference and therefore become willful.

            (2)    ATF does not have 10 estabhsh a history of prior violations to demonstrate
                   willfulness According ly, ATF may revoke a Federal firearms license under
                   appropnate c,rcurnstances based on an m,tial set of violations 1f it meals the
                   elements 01 willfulness such as an imen11onal straw sale or knowingly
                   transferring to a prohibited person, refusing ATF ngnt of entry and inspections
                   during hours of operation at the licensed premises. discontinuing use of GCA
                   required records <nowm91y entering false 1nforrnat1or or mtent1onally making
                   false statements 1nvolv111g required recoras under the GCA.

            (3)    A TF can establish the knowledge element of willfulness     1n several ways
                   (a)      Estallhsh the FFL nas a M1story of s1m1lar, repeat violaltons. and tne
                            inspect.on report documents thal an IOI discussed them with the FFL.
                            The FFL s compliance history can include other efforts by ATF (Including
                            quallficahon mspecwns) 10 inform the FFL about its legalrespons,bilmes.

                   (b)      Use Inspection reports to establish willfulness even 1f the ins pection
                            found no violations (i.e .. acknowledgment of Federal firec1rms
                            regula\1011s).

                    (c)     Statements or admissions communicatad by the FFL or Its employee(s).
                            as vell as acllons by the FFL or ,ts employee(s) dunng an inspectionthal
                            hindered or obstructed the in spection. or other evidence. can also
                            establish willfulness_

            (4)    A TF fie kl counsel mus! evaJuate the facts and circumstances surroundmg an
                   FFL's alleged v,olallon(s) to determine willfulness S1mu1taneously , a copy of
                   the Industry Operations Momlored Case Briefing Paper will be submitted to
                   FIS8 It can be later removed 11 the ftelCI division decides not to pursue
                   Mon~ored Case Program {MCP) act.ans (See 10.e.(3) for Reg,onal
                   Assuc1ate Ct,1cr Coun:ocl (/\CC) concuttonco)

            (5)     Revocauon Is an appropriate l1cens1ng action under section 923(e) and 1s strongly
                    recommende m response 10 t~e discovery of the fotfow1rg willful v1olat10ns which



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               directly impact the public.

               (a)     Transfer of a firearm to a prohibited person while knowing or hav,ng
                       reasonable cause to believe that t~.e transferee ls a prohibited person

               lb)     Allow an employee who is a proh1bned person to have actual or
                       conslt\Jd,ve possess,on of a firearm while knowing or having reasonable
                       cause to believe that the employee Is a prohIbIled person

               (c)     Actively engage in a straw purchase transaction (1.e., the licensee knows or
                       has reasonable cause to believe Iha( (he transferee of record Is not the
                       actual buyer.)

               (d)      Falsify records required und er the GCA or making a false or f1ct,tIous
                        written sraiemenl ,n the FF L s ,equired records or rn applying for o lireorms
                        licen se

               (e)     Withhold or misrepresent materi al lnformat1on in applylng for a license a~er
                       being prov1oed education ana opponunIty to correct the mrsrepreserued
                       information.

               (f)      Fa•lure to conduct a NICS check or obtain alternative permit or fail to
                        retrieve a NICS (or eou,valent State Pomt of Contact background check
                        syslem) response pnor to the transfer of a firearm and the purchaser is
                        proh1b1ted

               (g)      Transfer of a firearm prior to receiving a final NICS response (or aoplicable
                        State POC background check) and 3 days have not elapsed since the FFL
                        contacted the system and the purchaser Is prohibited.

               (h)      Failure to create or discontinue use of required GCA records,

               (i)      Failure 10 account for acquired fireerms which records indicate were ,n
                        inventor/ within the previous 5 years after reconcilrabon for which
                        d,sposrt,on could not be accounted lor rn required GCA records (e g
                        acquIs1tIon and d1sposI1Ion record Form 4473) and 1s a repeat vio!ahon or
                        increased frequency.

               U)       Rerused ATF right of entry and inspection during hours of operation at lhe
                        licensed premi se

               (k)      Failure 10 respond lo a fire arm trace request within 24 hours and Is a
                        repeal v1olat,on .

               (I)      Discovery ol a firearm with an obliterated serial number ,n FFL s inventory.

               (m)      Transfer or a firearm lo an underage person,

               (n)      The FFL has been the subJect of a WC ii, lieu of Revocation within the
                        previo us 5 years and the current inspection revea ls repeated slm lar
                        v,olations(s) With no significant improvement

                (o)     Any oiher GC/\ v1olatron not specifically addressed m this order where
                        revocauon may be appropna1e




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      f,   FlnesJSji,Spensions1Revocallon/ Under 18 U "SC . 922{!) Q( 922[Z)

           (1)     A TF may revoke, suspend and/or impose a c1v1I fine ror v1ofat1ons of the Brady
                   Handgun Violence Pre11en11on Acl and the Child Safety Lock Act of 2005 See
                   18 U S .C. §§ 922(t\. 922\zl and 92-l(p). In bolh r.11ua11ons tr.e proposed
                   'ltl.ncucn \revocation. suspension. and/or fine) rnusl be specifically speltec out ,n
                   the No11ce to Revoke or Suspend License andlor Impose a Civil Fine The FFL
                   has the same nghts to appeal ilS ,n ether GCA admin15tra1Jve heanngs

           (2)     ATF can revoke suspend, and/or fine an FFL pursuant to 18 U.S.C § 922(1)(5).
                   This allows for revocation, suspension for not more lhan 6 months, and/or a civil
                   fine for the transfer of a t1rearm and failure to conduct a NICS check required by
                   18 U.S.C § 922(t}(1), where NICS was available and lhe person would havtt
                   been den,ed had a NICS er.eek been conducted The transfer of the forearm and
                   1he IBJlure to conduct the NICS check must be done knowingly

           (3)     ATF can revoke suspend, and/or fine an FFL purs1;ant to 18 U.S.C § 924(p) /or
                   failure to comp!y wrth 18 USC § 922(z)(1) and provide a secure gun storage or
                   a safety device w,th each transfer of a handgun W1lh certain excephons, lh1s
                   allows for t/\e revocation, suspension for not more than 6 monlhs, and/or a civil
                   ftne for the transfer of a handgun to a non-licensee unless lhe transferee IS
                   proVlded with a secure gun storage or safely device

           (4)     Not,ficai.cn or Ctvll Fine 1moosed must be made to Federal Firearms l1cens,ng
                   Center 1FFLC) and Financial Manage'Tlenl Division (F~D) via memo.

           (5)     ATF field counsel must evaluate the facts ano circumstances surroundina an
                   FFL s alleged v1olat,on(sl 10 determine willfulness S,multanecus1y , a copy or the
                   Industry Operaltons Mor11tored Case Briefing Paper will be submitted to FISB It
                   can be later removed if tt,e field d,vls1on decides not to pursue revocation, civil
                   fine and/or suspension (See 10.e.(3) for Regional ACC concurrence)



           { 1J    An apohca~on tor a Federal firearms license may only Ile demed rf the aop1ica111
                   does not m<>et one or more of the bcen5•ng criter;a set forth 1n 18 U.S C § 923(d).
                   Generally ATF w,11 deny an apphcauon for renewal of a Federal firearms license
                   based on willful vrolat1ons of the GCA and the same criteria and procedures
                   outlined for revocation under sec:11on 923(e) 111 sechon 6 above.

           (2)     Al F w,11 d eny applical,ons 1n which an applicant· fall&d to provide material
                   1nformat10n required on the applicauon or the app11car\l ls less than 21 years old, a
                   proh1blled person made a material false stalemenl on the applica11on, or 1s a prior
                   willful v,olruor of the GCA These s1tuahons may include ·applica1,on denial •
                   "hioden ownershics. or straw appl,cat,ons which usually ,nvolve situabons
                   where past willful violators or proh1oited persons a1e responsible parties but are
                   not hsted on lhe apphcahon ATF may also base a revocation on hidden
                   o""nersh,p In certain snualJons, a referral to ATF Criminal Eniorcement may be
                   appropriate.

           (3)     P.. ff' 11eld counsel must evaluate the facts and circumstances surrounding an
                   FFL's alleged violat1on(s) to determine w1ltfulnes& Slmullancously a copy of the
                   Industry Operations Monitored Case Bnef1n9 Paper will be submitted to FISB II
                   t;dl1 be later removed tr the neld 01vls:on oec1des nor to pursue demal (Ses
                   10 e.(3J for Regional ACC concurrence)




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                                                                                           ATF O 5370 10
                                                                                           10/0212019

       h.     Alternate Actions.

              (1)     For inspections that merit co11s1deration of revocation in which the D10 proposes
                      an alternate recommendation. the inspection 1s required to be subm itted to the
                      MCP for DAD (10) re~Iew (ATF o 3200. 1A. Monitored Case Program)

              (2)     ATF field counsel must evaluate the fac!s and circumstances surrounding an
                      FFL s alleged violation(s) to determine willfulness. Simultaneously , a copy or
                      the Industry OperalIons Monitored Case Briefing Paper will be submitted to
                      FISB.

              Other Administrative Resolutions

               (1)    Pursuant to 27 CFR 478 72-74 the D10 may afford the FFUapprtcant lhe
                      opportunity 10 subm,t fac1s and arguments for rev,ew consideration and milke
                      oilers of settlemerll before or alter the issuance of a Notice of Revocallon/DenIal
                      requmng DAD. Industry Opera~ons (10) approval. Examples rnclude a request
                      ror a temporary closure period or a requested date or revocation after an agreed
                      upon liquioation period, In appropriate situaiions, wherein the div,sion behaves
                      the case may be resolved w1tnout conducting a hearing the D10 may also offer
                      the FFL an opportunity to meet with him/her 10 discuss potential resolutions of
                      the matter after the ,,suance of a Not1ce of Revocat,on or Demal

              (2)     Follow,ng the issuance of the Notice to Revoke1Ceny a D1O rray cons,der
                      alternatives to Issumg a Final Nobce of Denial of AppllcalIon. Revocation,
                      Suspension, anolor fine of a Federal firearms hcense with the concurrence of
                      the DAD (!OJ. The D10 should consult and work closely wrth field counsel on
                      the negotiation of terms and conditions to wh ich ATF may appropnately agree to
                      settle or resolve.

  8.   GENERAL GUIDANCE The dIv1s1on management team rnay consider the appropriate
       administrative acbon5 The 010 will seek advice of field counstil and th" ACC
       (East/CentrelNVesl) when seekmg Adm1n,strat.ve Acuons
       (Revocal!on/Den1al/Suspension/lmpos1t1on of Civil F,ne) for DAO (10) approval and !he AO F,eld
       OperaI,ons (FO) when cons,oering the appropnate admin,strativeachon

       a      Th,s order does not mandate doing any administrative action in e sequential or
              consecutive order. For example , a WC may be held or revocation sought after tne
              first inspection If violations Imp act public safety or obstruct firearms traceability .
              Conversely, a WL may be Issued even if the pnorinspectlon resulted in a WC.

       b.      The D1O or AS will conduct WCs,

       c       The 010 will ensure l~e hmelt ,mt,ahon of adminIstrahve action occurs within 30 days of
               the IOI report subm 1ss1on date. They should f1nal,ze and issue the post-conference letter
               for case$ requ1t1n9 a WC no lo!er than 90 days alter l1n11I 010 review unless there are
               mIt1ga1Ing cIrcums1ances Ttie AS shouk! Iss:.1e a WL w1thIn 15 days of his or her review

       d.      The arua office sliould submit case~ Involvir19 potential e1en1ails/revocatIons to th" DIO
               within 30 days of the inspection submission date. The DIO has 120 days, InclusIva or
               Counsel review, upon rece,pt of the Inspection to issue the Notice Field counsel will
               have a maximum ol 60 days to review and prepare the Nouce in fina l form for
               subrni,:sion lolhe DIO for review end Issuance The DAD (10) will be notified by the DIO
               via J:ISB tf these periods are not met.

       e.     Inspections may be suspendec rrorn     MCP with DAD (10) approval if the field dtv1s1on
              dac,de~ not ro pursu,.. admm1srra11ve actions meeting the MCP cnteria Suspension



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              requesls are submitted vla Post Inspection Information

              Cnmtnal v101a11ons and violahons that pose a danger to the pub\.c should be grounds for
              revocation. and the field must ,mmed1ately not,fy ATF criminal enforcement This may
              Include s1tual1ons where firearms are sub1ect to seizure and torielture, Thls order does no\
              prevent division management from p ursuing simultaneous regulatory and criminal actions
              with the concurrence of the U.S Attorney's Office There may be Instances where the
              Government resolves the case through a revocation and a cr,minal plea, If ATF pursues
              revocation, 1I will follow p•ocedures inctud,ng those requi•ed oy ATF O 3200 1A,
              Monitored Case Program

  9,   HEADQUARTERS POLICY REV1EW AND ALTERNA TE RE'COMMENDATIONS

       a      ATF musl h and le inspections and investigations with recommenda11ons for adm1mslr alive
              actions that meet the cntena of the MCP (e.g revocations. oenials. imposition of c,vtl rine
              suspension and/or alternate to revocaton/demat eic ) per ATF O 3200 1A Monitored
              Case Program

       b,     Alternate recommendahons to revocation (see section 7. h) require concurrence of the
              D AD (10) before proceeding Reier to AS Manual for additional guidance

  10   FtELD RESPONSIBILITIES. Respons1b1ht1es for field personnel and management ,m, a~follows

       a      Industry Operations lnvest,gator. The IOI

              (1)     Will conduct tne inspection per established ATF gu:dehnes mcludlng use of the
                      approved case management system. If they uncover violations , the IOI will
                      obtain and preserve all available evidence and document lhe violations to show
                      If the v,olallons were willful, including copies of Forms 4473 and Acquis1t1on end
                      0 1spositior records since only documented v,olahons Will be clled In the No~ce
                      T he 101 will then make (he approp,i..te rocommendatron based on lhe guidelines
                      conta ned herein and fofward tne mspectton to the AS.

              (2)     Mu~l communicate w1tn and notify the AS o f violations. frnd1ngs , and other
                      crrcumstances 1mpachng public safety upon discovery

       b      Area Sµp1;gy1sor The AS

              ( 1)    Will 1ev1e.v all firearms ,r,specuon reports and assocraled exh1olts maintained
                      w1tmn tne approved case management system lo ensure the tors
                      recommendation meots establrshed guidelines and ev1denhary requirements
                      1h1:1y adequately perlom,ect all relevant 1nspecnon work steps, and they
                      correctly entered all necessary data

              (2)     Must communicale with the D10 and notify them cf v1olatlons, findings and other
                      c11cumstances impacting public safety upon discovery

              (3)     Independently evaluate the 10!s recommendauon and Insert tneir
                      recommendabon in lhe approved case management system If they disagree
                      w ,th the IOI recammendahon, the AS will document the reason(s/ within the
                      recommendation section of the case management system. The AS must SLJbm1I
                      cases merihng WC, revocation denial, fine, or suspension to the D10 witnln 30
                      days of the IOI subm,ss,on date.

       c.     Director of Industry Operations. The 010 shall·

              (1)     Review   all inspeclions that recommend a WC and or alternate thereof. Th" 010



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                      shall complete a recommendation in the approved ca$e rmmagemsnt syst6in .:ind
                      roturn to the AS w1thm 15 calenda r days.

              (2)     f.loviow al inspoc11ons rc.sulling in a recornmendalion of denial, revo...c11ion,
                      suspensmn. hne, or alternate 10 revocation ano r.omplete a recommendat,on in
                      tho approved case management system. Additionally. the D10 musl provide
                      1ustihcat1on through th11 Industry Operatmns Monitored Case Briefing Paper and
                      submit to FISB.

              (3)     Request legal advice from fie ld counsel m all polenlial alternate
                      recommendations to revoca tion. Requesl fil~ld counsel and ACC legal
                      advice for all denials, rtwocal1ons, suspensions, and lines concerning
                      willfulness determination" and lillgallon hazard,;,.

              (4)     Advise the SAC of any administrative acuons that deal w,th potenltal
                      rovoca.t,on. d81",al, a1tc1r113.to to revocation, suspom:100, or line
                      recommr:mdalions, and oiner adminislrarive resotullons .



              (1)     At tl10 request of Iha DI0, field counsel will review all Inspection reports and
                      l:l~t1lblls n the approved case managemtmt sysl,:,rn and provide legal advice on
                      w,lltulness delsrrnlnahofls and s,grnficant ht1gatlon hazards 1n all adrnlnlstrattva
                      actions. If counsel believes there is insu!llcient evidt>nce lo proceed with the
                      proposed adm,n,s1ra111m ac110n or believes there are substanlial lrt,gahon hazards.
                      the,' will provida wr,uen analysis .

              (2)     The DJO and coun~er should use discretion 1n determining wh,ch v1ola1ions 10
                      allege and only allege w,ll!ul v1olahons in lhe Notice In certain instances, 11 niay
                      not be in the imcrost iJI the Government 10 cite lsolaled violations wherem there
                      are adequate willful violations to sustain a revocallon .

              (3)     The ACC for the apphcabla fiold division will review and approve all proposed
                      Notices and adm1mstrat1ve nc;solullons for legal soundness, and compli,mce
                      with lh,s po~.:y prior to linal submission lo MCP and 1mplemen1ation of u,ose
                      acl.ons.

       B.     Special Agenl jn Charqa. The SAC 11a& ultimate d,111s:on rnspor1sibil1ly lo ani,uri; that th,s
              national policy is properly enforced. To this end, they rrniy eslablist, add111onal conr,olis
              In their dlVISlon

  \1   AVAILABILITY. Tllc1 forms outlined 1r1 this order t1re avallabla at
       ATFConnect>Documenls/Con1ent,Forms. The manual outlined 1n this order is avaltabl.; at
       ATFConnact>On,anizalior.>Field Operat,ons>lnduslry Operations>lO1 Manual.

  12   RECORDS RETENTION fi<=QU!i:tEMEl-lTS.. Dccumenls ournned 1n this order musl oe
       retained in accordance w,tti AF O 1340.SA, Records Management Program and ATF O
       1340.7A. ATF Records Cor>trol Schedi.Jl~.

  I3   QUESTIONS. II you t1ave any quostlons regarding this ordar, pteasa con!Dcl Field
       ManagemEint Stall, 202-648-8400.




                                     (Olfico or Ftald Operauor.s)



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